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     In The United States Court of Federal Claims
                                            No. 09-583C

                                (Filed: December 16, 2011)
                                        __________

  AUTOMAK GENERAL TRADING &
  CONTRACTING COMPANY, W.L.L.,

                               Plaintiff,

                        v.

  THE UNITED STATES,

                              Defendant.


                                             __________

                                              ORDER
                                             __________

       A telephonic preliminary status conference will be held in this case on Wednesday,
January 4, 2012, at 2:00 p.m. (EST). Chambers will contact the parties shortly before the
scheduled conference time.

       IT IS SO ORDERED.



                                                     s/ Francis M. Allegra
                                                     Francis M. Allegra
                                                     Judge
